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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NO. 07‐402

TERESA BRENAN                                           SECTION “C”

                                ORDER AND REASONS

       This matter comes before the Court on motion under 28 U.S.C. § 2255 to vacate,

set aside or correct sentence filed by Teresa Brenan (“Brenan”). Having considered the

record, the memoranda and the law, the Court has determined that the motion should

be denied for the following reasons.

       On February 8, 2008, Brenan pleaded guilty pursuant to a plea agreement to one

count of conspiracy to distribute and possess with intent to distribute

methamphetamine in violation of 21 U.S.C. § 846 and one count of possession of a

firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924( c). On

October 15, 2008, she was sentenced to 60 months imprisonment on each count, to be

served consecutively, reflecting a sentencing reduction from the guideline range. Rec.

Docs. 257, 259, 263‐64. No appeal was taken, and this motion was filed on August 23,


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2012.

        In her motion, Brenan argues that her criminal history is lower than that reflected

in the pre‐sentence report because of the ruling in United States v. Simmons, 649 F.3d 237

(4th Cir. 2011), under which she should not be considered as a felon. The Court’s

reading of the Simmons case indicates that it determined that a non‐felony conviction

could not be used as a predicate felony conviction for purposes of an enhancement

under the Controlled Substances Act, 21 U.S.C. § (b)(1)(B). However, the record reflects

that the sentence imposed on Brenan was not enhanced, but resulted from the

consideration of the quantity of drugs involved in the conspiracy count, 500 grams or

more of a mixture or substance containing a detectable amount of methamphetamine

under 21 U.S.C. § (b)(1)(A)(viii), along with the use of the gun during and in relation to

a drug trafficking crime under 18 U.S.C. § 924( c) under the other count.

        It is unclear whether Brenan is challenging consideration of the criminal history

point resulting from a August 26, 2002, sentence to pay fines and court costs relative to

a conviction for theft of goods under $100 in Jefferson Parish First Parish Court. Even if

that criminal history point is deducted or ignored, her Criminal History Category under

Section 5, Part A of the Guidelines would not change.

        In any event, if the ruling in Simmons is relevant to her sentence, it is not binding



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on district courts in this Circuit and was not issued by the United States Supreme Court.

This results in her motion being untimely filed under 28 U.S.C. § 2255(f) because there is

no “date on which the right asserted was initially recognized by the Supreme Court” or

made retroactively applicable. Finally, Brenan’s plea bargain precludes a collateral

attack such as this under United States v. White, 307 F.3d 336 (5th Cir. 2002).

       Accordingly,

       IT IS ORDERED that the motion under 28 U.S.C. § 2255 to vacate, set aside or

correct sentence filed by Teresa Brenan is DENIED.




       New Orleans, Louisiana, this 4th day of February, 2013.




                                                  ___________________________________
                                                  HELEN G. BERRIGAN
                                                  UNITED STATES DISTRICT JUDGE




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